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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF KENTUCKY
                                    LONDON DIVISION

                                                           )
 In re:                                                    )   Chapter 11
                                                           )
 Americore Holdings, LLC, et al.,1                         )   Case No. 19-61608-grs
                                                           )
             Debtors.                                      )   Jointly Administered
                                                           )
                                                           )   Honorable Gregory R. Schaaf
                                                           )
________________________________________________________


                      INTERIM ORDER GRANTING MOTION OF
         THE DEBTORS AND DEBTORS IN POSSESSION UNDER 11 U.S.C.
           §§ 105, 361, 362, AND 363, RULE 4001 OF THE FEDERAL RULES
   OF BANKRUPTCY PROCEDURE, AND RULE 4001-2 OF THE LOCAL RULES
 OF THE UNITED STATES BANKRUPTCY COURT FOR THE EASTERN DISTRICT
 OF KENTUCKY FOR ENTRY OF AN ORDER (I) AUTHORIZING THE DEBTORS’
USE OF CASH COLLATERAL ON AN INTERIM BASIS, (II) GRANTING ADEQUATE
 PROTECTION TO THE DEBTORS’ PREPETITION SECURED CREDITORS, AND
    (III) SCHEDULING A FURTHER INTERIM HEARING TO CONSIDER THE
                       DEBTORS’ USE OF CASH COLLATERAL

          This matter having come before the Court on the Motion of the Debtors and Debtors in

Possession Under 11 U.S.C. §§105, 361, 362, and 363, Rule 4001 of the Federal Rules of

Bankruptcy Procedure, and Rule 4001-2 of the Local Rules of the United States Bankruptcy

Court for the Eastern District of Kentucky for Entry of an Order (I) Authorizing the Debtors’

Use of Cash Collateral on an Interim Basis, (II) Granting Adequate Protection to the Debtors’

Prepetition Secured Creditors, and (III) Scheduling a Further Interim Hearing to Consider the

Debtors’ Use of Cash Collateral (the “Motion”) Entry of an Order to Transfer Venue to the



1
  The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in
parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore Health Enterprises,
LLC (3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate, LLC (8799); Ellwood
Medical Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard County Medical Center, LLC
(3388); Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610); and St. Alexius Hospital
Corporation #1 (2766).


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Lexington filed by Americore Holdings, LLC and its above-captioned affiliated debtors and

debtors in possession (collectively, the “Debtors”); the Court having reviewed the Motion; the

Court having found that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§

157 and 1334, (ii) venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409, (iii)

this is a core proceeding pursuant to 28 U.S.C. § 157(b), and (iv) notice of the Motion was

sufficient under the circumstances; and the Court having determined that good and sufficient

cause having been shown, and that it is in the best interests of the Debtors, their estates, their

creditors, and other parties in interest;

           IT IS HEREBY ORDERED THAT:

           1.       The Motion is Granted on an interim basis.

           2.       The Debtors are authorized on an interim basis to use Cash Collateral2 for those

purposes and in those amounts set forth in the Budgets, subject to reasonable variances, attached

to the Motion as Exhibit A, as and when such expenses become due and payable, and in

accordance with extension(s) or modification(s) of such Budgets, or as ordered by the Court,

through and until such time as the Court issues a further order on the Motion.

           3.       As adequate protection for the Secured Creditors, any Secured Creditor with an

interest in the Cash Collateral is hereby granted a Replacement Lien on and in all property

owned, acquired, or generated postpetition by the Operating Debtors and their continued

operations to the same extent and priority and of the same kind and nature such Secured Creditor

had prior to the commencement of the Chapter 11 Cases; provided, however, that (i) the

Replacement Liens shall only be granted to such Secured Creditors to the extent of the

diminution in the value of their interests in the Cash Collateral, (ii) the Replacement Liens shall



2
    Capitalized terms used herein and not otherwise defined have the meanings given to them in the Motion.

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not attach to any real property of the Debtors which serves as collateral for any creditor, the

Avoidance Actions, or their proceeds, and (iii) the Replacement Liens shall be subordinate to the

Carve-Out (defined below). For the avoidance of doubt, the Replacement Liens granted to

Secured Creditors as adequate protection for the use of Cash Collateral are limited to the nature

of each such Secured Creditor’s prepetition liens on the Prepetition Collateral.

       4.      The Replacement Liens shall be junior and subordinate to (i) fees due the United

States Trustee pursuant to 28 U.S.C. § 1930(a); (ii) fees due the Clerk of this Court; (iii) the

payment of unpaid Debtors’ Professional Fees in the amounts set forth in the Budgets; and (iv)

the payment of unpaid Committee’s Professional Fees in the amounts set forth in the Budgets

(collectively, the “Carve-Out”), which Carve-Out shall at all times be payable to the Debtors’

Professionals and the Committee’s Professionals, as applicable, prior to the satisfaction of the

Replacement Liens.

       5.      The Replacement Liens in postpetition collateral are deemed to be valid and

perfected to the same extent as existed as of the Petition Date without need for the execution,

filing, or recording of any further documents or instruments otherwise required to be executed or

filed under non-bankruptcy law.

       6.      The interests of each of the Secured Creditors in Cash Collateral are adequately

protected, as required by sections 363 and 361 of the Bankruptcy Code, by the provision of the

Replacement Liens.

       7.      The Debtors shall furnish Secured Creditors and other parties in interest with such

financial and other information as each reasonably requests.

       8.      Nothing in this interim Order is intended to be a determination of the extent,

validity, or priority of the lien rights of any Secured Creditor, the value of collateral purporting to



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secure the indebtedness due from the Debtors on any Secured Creditor’s pre-petition claims, or

the need for additional adequate protection for any Secured Creditor.

         9.     The Debtors’ right to use Cash Collateral shall terminate upon the entry of an

order (i) dismissing or converting this case to a case under chapter 7 of the Bankruptcy Code, or

(ii) determining that the Debtors are in default of their obligations under this Cash Collateral

Order or a future order granting the Motion for the continued use of Cash Collateral (each of the

foregoing, a “Termination Event”).

         10.    Nothing contained herein shall be construed as a waiver of any Secured Creditor’s

rights in the event the terms and conditions of this Order prove insufficient to adequately protect

its security interests.

         11.    Except as expressly provided in this Order, the Replacement Liens and the Carve-

Out, and all rights and remedies herein afforded the Secured Creditors, the United States Trustee,

the Debtors’ Professionals, and the Committee’s Professionals, shall survive, and shall not be

modified, impaired, or discharged by the entry of an order converting any of the Chapter 11

Cases to a case under chapter 7 of the Bankruptcy Code or dismissing any of the Chapter 11

Cases. The terms and provisions of this Order shall continue in the Chapter 11 Cases, in any

successor cases if the Chapter 11 Cases cease to be jointly administered, or in any superseding

chapter 7 cases under the Bankruptcy Code.

         12.    The relief granted herein is without prejudice to the rights of any of the Debtors to

seek further authorization for use of any cash collateral or authorization to obtain postpetition

financing in the Chapter 11 Cases.

         13.    The Court retains jurisdiction for the purpose of interpreting and enforcing this

Order.



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Tendered by:

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                                    Exhibit A
                                    (Budgets)
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St Alexius
Cash Flow                                                                   1                                   2                                  3
1/7/20 10:10 PM                                                         1/10/2020 1/10/2020 1/10/2020       1/17/2020 1/17/2020 1/17/2020      1/24/2020 1/24/2020 1/24/2020
Week Ending                                                           Forecast   Actual    Variance       Forecast   Actual    Varience       Forecast  Actual    Varience
Weekly Sales                                                                   ‐        ‐           ‐              ‐        ‐           ‐             ‐        ‐           ‐
Cash Receipts
Gross Billings
Inpatient Revenue                                                          1,600       ‐       (1,600)         1,600       ‐       (1,600)        1,600       ‐       (1,600)
Outpatient Revenue                                                         1,600       ‐       (1,600)         1,600       ‐       (1,600)        1,600       ‐       (1,600)
Total Gross Billings                                                       3,200               (3,200)         3,200               (3,200)        3,200               (3,200)

Net Receipts
Account Receivables - Insurances & Early Out Collections (self-pay)         460        ‐         (460)          450        ‐         (450)         720        ‐         (720)
Professional Fees (KSL)                                                     ‐          ‐          ‐             ‐          ‐          ‐            ‐          ‐          ‐
G/L & OTC                                                                    50        ‐          (50)           25        ‐          (25)          50        ‐          (50)
Bad Debt Collections (PMAB/OneAdvantage/Transworld)                           1        ‐            (1)           1        ‐            (1)          1        ‐            (1)
School of Nursing                                                             4        ‐            (4)           7        ‐            (7)          5        ‐            (5)
FRA                                                                          91        ‐          (91)                     ‐          ‐             91        ‐          (91)
Medicaid Uninsured Add-on Less FRA Withholding (est. less 120k)             480        ‐         (480)           ‐         ‐          ‐            480        ‐         (480)
Total Cash Receipts                                                        1,086       ‐       (1,086)          483        ‐         (483)        1,347       ‐       (1,347)

Reimbursement Specialists (Pro-fee) (est. $100k per month)                             ‐          ‐                        ‐          ‐                       ‐          ‐
Reimbursement Specialists (Pro-fee) (est. $750k backlog)                               ‐          ‐                        ‐          ‐                       ‐          ‐
Total Professional Receipts                                                  ‐         ‐          ‐             ‐          ‐          ‐             ‐         ‐          ‐
Net Rent/other                                                               ‐                    ‐             ‐                     ‐             ‐                    ‐
Total Cash Receipts                                                        1,086               (1,086)          483                  (483)        1,347               (1,347)

Cash Disbursements
Employee Payroll                                                             ‐         ‐          ‐             850        ‐         (850)          ‐         ‐          ‐
Health, Life and Dental insurance                                             98       ‐          (98)           90        ‐          (90)           50       ‐          (50)
Utilities                                                                     40       ‐          (40)           40        ‐          (40)           40       ‐          (40)
Insurance (General Liability)                                                          ‐          ‐              36        ‐          (36)          ‐         ‐          ‐
Insurance Workers Comp                                                       ‐                                  ‐                                   ‐
Insurance Property                                                                                                7                                 ‐
Western ER                                                                    46       ‐          (46)           46        ‐          (46)           46       ‐          (46)
IT / Billing Partners                                                         35                  (35)           20                   (20)           20                  (20)
Contract Labor/Other                                                          15                                 15                                  15
Contract Labor/Kings                                                          83                  (83)           80                   (80)          ‐                    ‐
Contract Labor/Anesthesia                                                    ‐                                   25                                  25
Contract Labor/Aya                                                            15                                 15                                  15
Pharmacy                                                                      15                  (15)           15                   (15)           15                  (15)
Food                                                                           8                   (8)            8                    (8)            8                   (8)
Lab Supplies/other contract cost                                              50                                 50                                  50
Medical/Other Supplies                                                        30                                 30                                  30
Surgical Supplies                                                             65                                 65                                  65
Office Supplies                                                                3                    (3)           3                     (3)           3                    (3)
Repairs/Maintenance                                                           25                  (25)           25                   (25)           25                  (25)
Building Rent                                                                ‐                    ‐             ‐                     ‐             ‐                    ‐
Medical Equipment Support                                                      6                    (6)           6                     (6)           6                    (6)
Profession/Other                                                              10                  (10)           10                   (10)           10                  (10)
Regulatory                                                                     8                    (8)         ‐                     ‐             ‐                    ‐
Nursing School                                                                20       ‐          (20)           20        ‐          (20)           20       ‐          (20)


Disbursements - Operations                                                  572        ‐         (572)         1,456       ‐       (1,456)         443        ‐         (443)

CASH FROM OPERATIONS                                                        515        ‐         (515)          (974)      ‐         974           904        ‐         (904)

Banruptcy Costs
Debtor Professional Fees (Legal/Financial Advisor/Claims Agent)               50                  (50)            50                  (50)          50                   (50)
Committee Professional Fees                                                  ‐                    ‐              ‐                    ‐             15                   (15)
US Trustee Fees                                                                3                    (3)            3                    (3)          3                    (3)
Total Bankruptcy Professional Costs                                           53                  (53)            53                  (53)          68                   (68)

Critical Items Prior to 12/31/19
Payroll From 1/4/2019                                                       592                  (592)                     ‐          ‐                       ‐          ‐
Payroll Taxes/other From 1/4/2019                                           258                  (258)                                ‐                                  ‐
Power Company                                                                                     ‐                        ‐          ‐                       ‐          ‐
Nursing School Bond                                                                               ‐                                   ‐            100                  (100)
Critical Vendors                                                                                  ‐                                   ‐                                  ‐
 Western Health                                                              ‐                    ‐                                   ‐                                  ‐
 Aya                                                                         ‐                    ‐                                   ‐                                  ‐
 Kings                                                                       ‐                    ‐                                   ‐                                  ‐
 Capital Anesthesia                                                          ‐                    ‐                                   ‐                                  ‐
 Faultless                                                                                        ‐                                   ‐                                  ‐
 Staples
 Donna Talbot                                                                                     ‐                                   ‐                                  ‐
 Albans                                                                                           ‐                                   ‐                                  ‐
Key Insurance Payments/workers comp/prop/gen liability                      166                  (166)                                ‐                                  ‐
Unum Insurance                                                              ‐                     ‐              75        ‐           75                     ‐          ‐
Employee Health Insurance                                                   ‐                     ‐                                   ‐            209                  (209)
                                                                                                  ‐                        ‐          ‐                       ‐          ‐
Total Critical Items                                                       1,016       ‐       (1,016)           75        ‐           75          309        ‐         (309)

TOTAL CASH CHANGE                                                           (554)                554          (1,102)                952           527                  (527)


Beginning Operating Acct Balance                                            580        ‐         (580)            26       ‐          (26)       (1,075)      ‐        1,075
Ending Operating Acct Balance                                                26        ‐          (26)        (1,075)      ‐        1,075          (548)      ‐          548
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Ellwood City Medical Center
Cash Flow                                                           1                                        2                                        3
1/7/20 7:18 PM                                                   1/10/2020    1/10/2020    1/10/2020      1/17/2020    1/17/2020    1/17/2020      1/24/2020    1/24/2020    1/24/2020
Week Ending                                                   Forecast     Actual       Varience       Forecast     Actual       Varience        Forecast    Actual       Varience
Weekly Sales                                                           ‐            ‐            ‐              ‐            ‐            ‐              ‐            ‐            ‐
Cash Receipts
Receipts from Current AR                                              100          ‐           (100)            85          ‐            (85)            75          ‐            (75)
Receipts from Self Pay
Receipts from Professional Fees/Credentialling
Total Cash Receipts                                                   100          ‐           (100)            85          ‐            (85)            75          ‐            (75)

Cash Disbursements
Employee Net Payroll                                                   51          ‐            (51)            36          ‐            (36)           ‐            ‐            ‐
Employee Withholdings                                                  19          ‐            (19)            12          ‐            (12)           ‐            ‐            ‐
Health, Life and Dental insurance                                      37          ‐            (37)           ‐            ‐            ‐               10          ‐            (10)
Electric & Sewer Payments                                             ‐            ‐            ‐               40          ‐            (40)           ‐            ‐            ‐
Natural Gas                                                           ‐            ‐            ‐               12          ‐            (12)           ‐            ‐            ‐
Water                                                                 ‐            ‐            ‐                4          ‐              (4)          ‐            ‐            ‐
Telephone & Internet                                                  ‐            ‐            ‐                4          ‐              (4)          ‐            ‐            ‐
Rent
Insurance (property, workers comp, etc.)                              ‐            ‐            ‐              ‐            ‐            ‐               10          ‐            (10)
Professional Fees (Wilkie - Accountants)                              ‐            ‐            ‐              ‐            ‐            ‐              ‐            ‐            ‐
Miscellaneous (Supplies, Snow Removal, Etc)                             5          ‐             (5)             5          ‐             (5)             5          ‐              (5)
Disbursements - Operations                                            112          ‐           (112)           113          ‐           (113)            25          ‐            (25)

CASH FROM OPERATIONS                                                  (12)         ‐             12            (28)         ‐             28             50          ‐            (50)



TOTAL CASH CHANGE                                                     (12)         ‐             12            (28)         ‐             28             50          ‐            (50)


Cash Transfers
Operating Transfer to Payroll                                         ‐            ‐            ‐              ‐            ‐            ‐              ‐            ‐            ‐
Receipt of Cash from Payroll                                          ‐            ‐            ‐              ‐            ‐            ‐              ‐            ‐            ‐
Net Change in Cash                                                    (12)         ‐             12            (28)         ‐             28             50          ‐            (50)

Beginning Operating Acct Balance                                       40          ‐            (40)            28          ‐            (28)           ‐            ‐            ‐
Ending Operating Acct Balance                                          28          ‐            (28)           ‐            ‐            ‐               50          ‐            (50)
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        Izard County Medical Center Budget
        Cash Flow                                               Document  2   Page 9 of 9                             3                                             4
        1/7/20 7:19 PM                                                1/10/2020                                   1/17/2020                                      1/24/2020
        Week Ending                                                 Forecast    Actual        Varience           Forecast   Actual       Varience             Forecast     Actual       Varience
        Weekly Sales                                                         ‐           ‐               ‐               ‐           ‐              ‐                  ‐            ‐              ‐
        Cash Receipts
        Receipts from AR                                                   115           ‐           (115)             115           ‐          (115)                 115           ‐          (115)
        Total Cash Receipts                                                115           ‐           (115)             115           ‐          (115)                 115           ‐          (115)

        Cash Disbursements
        Employee Payroll (wages, withholdings, etc.)                         87          ‐               (87)           ‐            ‐              ‐                  95           ‐              (95)
        Group Insurance                                                       2          ‐                 (2)              2        ‐                  (2)             2           ‐                (2)
        Health, Life and Dental insurance                                     1          ‐                 (1)              1        ‐                  (1)             1           ‐                (1)
        Utilities                                                             4          ‐                 (4)          ‐            ‐              ‐                 ‐             ‐              ‐
        Insurance (General Liability)                                         2          ‐                 (2)              2        ‐                  (2)             2           ‐                (2)
        Supplies                                                              5          ‐                 (5)              5        ‐                  (5)             5           ‐                (5)
        EMR System                                                          ‐                            ‐              ‐                           ‐                  25                          (25)
        Contract Labor                                                        0                            (0)              0                           (0)             0                            (0)
        Pharmacy                                                              6                            (6)              6                           (6)             6                            (6)
        Food                                                                  4                            (4)              4                           (4)             4                            (4)
        Office Supplies                                                       1                            (1)          ‐                           ‐                 ‐                            ‐
        Postage                                                               1                            (1)          ‐                           ‐                 ‐                            ‐
        Repairs/Maintenance                                                   1                            (1)           1                           (1)                1                            (1)
        Building Rent                                                       ‐                            ‐              50                          (50)              ‐                            ‐
        Medical Equipment Support                                             1                            (1)           1                           (1)                1                            (1)
        Professional Fees (Physicians)                                       60                          (60)           30                          (30)               30                          (30)
                                                                              0          ‐                 (0)           0           ‐               (0)                0           ‐                (0)

        Disbursements - Operations                                         175           ‐           (175)             102           ‐          (102)                 173           ‐          (173)

        CASH FROM OPERATIONS                                                (60)         ‐               60             13           ‐              (13)              (58)          ‐              58



        TOTAL CASH CHANGE                                                   (60)                         60             13                          (13)              (58)                         58

        Beginning Operating Acct Balance                                    65                                           5           ‐               (5)               17           ‐              (17)
        Ending Operating Acct Balance                                        5                           60             17                          (17)              (41)                          41




___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                                             Signed By:
                                                                                             Gregory R. Schaaf
                                                                                             Bankruptcy Judge
                                                                                             Dated: Thursday, January 9, 2020
                                                                                             (grs)
